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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :     CRIMINAL NO. 21-CR-175 (TJK)
                                                :
             v.                                 :
                                                :
 ETHAN NORDEAN,                                 :     UNDER SEAL and EX PARTE
 also known as “Rufio Panman,”                  :
 JOSEPH BIGGS,                                  :
 ZACHARY REHL,                                  :
 CHARLES DONOHOE,                               :
                                                :
                    Defendants.                 :

                    GOVERNMENT’S MOTION TO UNSEAL
             SUPERSEDING INDICTMENT AND RELATED DOCUMENTS

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves this Court to unseal: the superseding indictment; the

government’s motion continue arraignment, filed on March 12, 2021; and this motion and any

associated order.

       Because this motion references matters that are currently under seal and ex parte, the

government is filing this motion under seal and ex parte. However, limiting disclosure of the

superseding indictment and related documents—that is, to protect investigative and law

enforcement interests until the arrests of two of the defendants—is no longer necessary.

Accordingly, these matters should be unsealed. A proposed order is attached.
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                              Respectfully submitted,

                              CHANNING D. PHILLIPS
                              Acting United States Attorney
                              D.C. Bar No. 415793

                      By:        /s/ Jason B.A. McCullough
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